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                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO



THE UNITED STATES OF AMERICA

      vs.                                                   CR. NO.18- CR 00408-01 (GAG)

JOSE MANUEL ALVAREZ-CARTAGENA

                        MOTION NOTIFYING BAIL VIOLATIONS

TO THE HONORABLE GUSTAVO A. GELPI
UNITED STATES DISTRICT JUDGE
FOR THE DISTRICT OF PUERTO RICO

       COMES NOW, Alexandria Oliveras-Rivera, U.S. Probation Officer of this Court,

and respectfully informs and prays that:

       1. On June 22, 2018, the Honorable Camille Velez-Rivera, U.S. Magistrate Judge,

            ordered the defendant’s release on a $10,000 unsecured bond and a specific condition

            of release that is that Mr. Alvarez-Cartagena shall reside with his mother and remain

            outside the Carioca Public Housing Project.

       2. On December 10, 2018, Mr. Alvarez-Cartagena reported to have some family

            problems that have forced him to occasionally reside at Public Housing Project

            Carioca without notifying the undersigned officer nor requesting change of address to

            the Court. Mr. Alvarez-Cartagena’s unacceptable behavior was conducted

            consciously of the consequences. This same day, the U.S. Probation Officer verbally

            admonished Mr. Alvarez-Cartagena and informed him that the Court will be notified

            of the alleged violations to his Order of Release. Mr. Alvarez-Cartagena is in
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               violation to bail condition 7 (f): Abide by the following restrictions on personal

               association, residence, or travel.


WHEREFORE, the undersigned respectfully prays that the Court takes notice of the contents

of this motion and recommends no adverse action.

        In San Juan, Puerto Rico, this 12th day of December 2018.

                                                              RESPECTFULLY SUBMITTED,

                                                                   LUIS ENCARNACION, Chief


                                                                                     U.S. Probation
                                                                                            Officer
                                                                   s/Alexandria Oliveras-Rivera
                                                                       Alexandria Oliveras-Rivera
                                                                             U.S. Probation Officer
                                                                     United States Probation Office
                                                        Federico Degetau Federal Office Building
                                                                    150 Chardón Avenue, Rm. 400
                                                                             Hato Rey, P.R. 00918
                                                                        Telephone: (787) 766-5596
                                                                              Fax: (787) 281-4940
                                                     E-mail: alexandria_oliveras@prp.uscourts.gov

                                   CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that today, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to interested parties

in the case.

        In San Juan, Puerto Rico, this December 12, 2018.
